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UNITED STATES COURT OF INTERNATIONAL TRADE                                           FORM 7


StarKist Co.


                                    Plaintiff,                                   14-197
                                                                       Court No.
          v.                                                           and Attached Schedule
United States

                                    Defendant.




                                   NOTICE OF DISMISSAL


       PLEASE TAKE NOTICE that plaintiff, pursuant to Rule 41(a)(1)(A)(i) of the Rules of
the United States Court of International Trade, hereby dismisses the action(s) listed on the attached
schedule.




       August 7, 2022
Dated: __________________

                                                 /s/Michael Roll, Partner, Roll & Harris LLP
                                                 __________________________________________
                                                           Attorney for Plaintiff
                                                 1999 Avenue of the Stars, Ste 1100
                                                 __________________________________________
                                                             Street Address
                                                 Los Angeles, CA 90067
                                                 __________________________________________
                                                         City, State and Zip Code
                                                 310-294-9501
                                                 __________________________________________
                                                               Telephone No.
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                                   Schedule to Notice of Dismissal


   Court Number(s)          Plaintiff(s) Name          Protest Number(s)            Entry Number(s)
                                                      or Claim Number(s)             (if applicable)
                                                          (if applicable)
14-197                    StarKist Co.              2506‐13‐100023                231‐7439736‐6
14-197                    StarKist Co.              2506‐13‐100023                231‐7439838‐0
14-197                    StarKist Co.              2506‐13‐100023                231‐7440425‐3
14-197                    StarKist Co.              2506‐13‐100085                231‐7441415‐3
14-197                    StarKist Co.              2506‐13‐100085                231‐7441570‐5
14-197                    StarKist Co.              2506‐13‐100085                231‐7441657‐0
14-197                    StarKist Co.              2506‐13‐100111                231‐7442290‐9
14-197                    StarKist Co.              2506‐13‐100111                231‐7442698‐3
14-197                    StarKist Co.              2506‐13‐100111                231‐7442819‐5
14-197                    StarKist Co.              2506‐13‐100125                231‐7443337‐7
14-197                    StarKist Co.              2506‐13‐100125                231‐7443541‐4




                                          Order of Dismissal

       The actions listed on the schedule set forth above, having been voluntarily noticed for
dismissal by plaintiff, are dismissed.


Dated: _____________________
                                                        Clerk, U. S. Court of International Trade



                                                        By: ________________________________
                                                                 Deputy Clerk




(As amended Dec. 18, 2001, eff. Apr.1, 2002; Aug. 2, 2010, eff. Sept. 1, 2010.)
